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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                         Case No.
      Plaintiffs,
                                                                      0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
             TO EXCLUDE EVIDENCE OR ARGUMENT AS TO BUZZFEED’S
              POST-PUBLICATION DECISION TO REDACT PLAINTIFFS’
                           NAMES FROM THE DOSSIER

          On January 10, 2017, Defendants published an article entitled “These Reports Allege
   Trump Has Deep Ties To Russia,” along with a compendium of seventeen separate
   memorandum written by Christopher Steele, who had been hired by Fusion GPS, an opposition-
   research firm working on behalf of the Democratic National Committee and the Hillary Clinton
   campaign to investigate then-candidate Donald Trump’s ties to Russia. The last of these memos
   (the “December Memo”) included a paragraph that falsely accused Plaintiffs of: (1) using botnets
   and porn traffic to transmit viruses, plant bugs, steal data, and conduct “altering operations”
   against the Democratic Party Leadership, (2) being agents of the FSB, (3) being part of an
   elaborate conspiracy that would need to go into hiding if Hillary Clinton had won the Presidency,
   and (4) (implicitly) attempting to undermine the 2016 United States Presidential election.
          On January 28, 2017, Plaintiffs sent Defendants a letter in accordance with Florida
   Statutes Chapter 770.01, et seq., seeking a full retraction of the allegations concerning Plaintiffs
   designed to be as visible as the original article and providing a deadline of February 3, 2017 for
   Defendants to effectuate said retraction.
          On February 3, 2017, no retraction having been offered or printed, Plaintiffs initiated the
   present litigation. Indeed, prior to the initiation of the present lawsuit, Buzzfeed did not retract
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   the statements made, redact Plaintiffs’ names, issue an apology to Plaintiffs, or take any other
   step to mitigate the damages suffered by Plaintiffs.
          On February 3, 2017, after suit had been initiated, Buzzfeed published an article entitled
   “Russian Tech Executive Files Defamation Lawsuit Against BuzzFeed Over Dossier.” In that
   article, Buzzfeed quoted its own spokesman, writing:
          “We have redacted Mr. Gubarev’s name from the published dossier, and apologize
          for including it,” Matt Mittenthal, spokesman for BuzzFeed News, said in a
          statement.
          In reality, no “apology” was ever made and, indeed, Mr. Gubarev (and his legal team)
   only learned of this purported “apology” when they read about it in the media.
          In their Motion in Limine No. 1, Defendants attempt to do two things – though they slyly
   pretend that they are asking the Court for only one: (1) they seek to preclude evidence or
   argument concerning their decision to redact Plaintiffs’ names after being sued, and (2) they seek
   to preclude evidence or argument concerning the purported apology. Neither is appropriate here.
          Defendants’ primary argument is that Plaintiffs should not be permitted to use
   Defendants’ subsequent remedial measure (redaction) as proof of Defendants’ liability. To the
   extent that this is a legitimate concern, the Court is fully capable of giving the jury an appropriate
   limiting instruction.
          In reality, though, the evidence is admissible for wholly different purposes. First,
   Defendant Ben Smith has testified that he knew that the allegations concerning Plaintiffs were in
   the December Memo and that he understood them to be serious allegations. Smith Depo., Exhibit
   1, pp. 65-66. Buzzfeed has admitted that, prior to publishing the December Memo, it took no
   steps to contact any of the Plaintiffs (Buzzfeed Admissions, Exhibit 2, Nos. 1-3) and that “prior
   to publishing the Article Buzzfeed did not specifically investigate any of the allegedly
   defamatory statements concerning any of the Plaintiffs.” Buzzfeed Responses to Interrogatories,
   Exhibit 3, No. 5. Buzzfeed has admitted that, prior to publication it did not redact Plaintiffs’
   names (Buzzfeed Admissions, Exhibit 2, No. 11) despite having the technical ability to do so
   (Buzzfeed Admission, Exhibit 2, No. 12). It also admits that it did not redact Plaintiffs’ names
   until after it was sued, on February 3, 2017. 1 Buzzfeed Admissions, Exhibit 2, No. 23. Mr.



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    This timeframe belies Defendants’ claim in its Motion that it redacted Plaintiffs names and
   “apologized” in “an effort to avoid litigation.” Defendants’ Motion, p. 4.
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   Smith testified that he intentionally chose to redact some names from the Dossier, such as the
   name of Michael Cohen’s father-in-law, but not others, such as the Plaintiffs. Smith Depo., pp.
   67, 70, 112-113. The fact that Defendants not only knew that they could technically redact the
   document before publication and, indeed, did so selectively, but chose specifically not to do so
   with respect to the admittedly serious allegations concerning Plaintiffs that Defendants had taken
   no steps to investigate is relevant to the issue of the feasibility of such a redaction and is
   therefore admissible under Fed. R. Evid. 407. This feasibility is also relevant to the level of fault
   demonstrated by Defendants in their conscious decision not to redact Plaintiffs’ names from the
   December Memo. It is equally relevant that Defendants had the opportunity to redact Plaintiffs’
   names upon receipt of the January 28, 2017 demand letter but again chose not to do so until the
   present lawsuit was filed. Buzzfeed then issued a self-serving press release (and reported on its
   own release) touting the redaction. This, too, will be relevant to the jury’s determination of fault
   and/or punitive damages.
           Secondly, the redaction is simply part of the story of the actual events that took place and
   serves to explain, for example, why Plaintiffs speak about the more than six million people who
   viewed the article prior to February 3, 2017. Neither of these reasons has anything to do with a
   remedial measure designed to avoid (the already-initiated) litigation.
           Defendants’ so-called “apology,” however, stands on entirely different footing. The
   “apology,” which was not in actuality ever made to Mr. Gubarev, can not be seen to be
   “remedial” in any respect. It is not a measure “taken that would have made an earlier injury or
   harm less likely to occur,” as required under FRE 407. It does not serve to lessen Mr. Gubarev’s
   damages and, indeed, appears to have been nothing more than damage control for Buzzfeed,
   which was receiving overwhelmingly negative responses from other media outlets about its
   decision to publish unverified allegations. Indeed, the purported “apology,” which does not fall
   anywhere within the definition of remedial measure outlined in FRE 407, is an admission by a
   party opponent and admissible as such under Fed. R. Evid. 801(d)(2). See, e.g., Menshikova v.
   City of Chi., 1997 U.S. Dist. LEXIS 7733, at *3 (N.D. Ill. May 27, 1997) (denying plaintiff’s
   motion in limine to exclude statement where “defendants correctly point out that a statement of
   apology that Whitman assertedly made to defendant Eula Scott (‘Scott’) is admissible as non-
   hearsay under Fed. R. Evid. (‘Rule’) 801(d)(2)(a).”); Becton v. Starbucks Corp., 2007 U.S. Dist.
   LEXIS 65803, *7 (S.D. Ohio Sep. 6, 2007) (store manager’s apology that coffee cup lids were

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   not on properly admissible under Rule 801(d)(2) despite the fact that “an admission of a party
   opponent is, by its very nature, always prejudicial”); 3M Co. v. Mohan, 482 F. App'x 574, 579
   (Fed. Cir. 2012) (citing a party’s apologies to customers for causing confusion in trademark case
   as support for the factual finding that the party did cause consumer confusion); Sutton v.
   Calhoun, 593 F.2d 127, 128 (10th Cir. 1979) (affirming the trial court’s submission to the jury of
   the question of how much probative weight should be assigned to an admission of mistake by a
   doctor in a case alleging negligence on the part of the doctor).
          In the present case, Buzzfeed issued a widely quoted press release in which it claimed
   that “We have redacted Mr. Gubarev’s name from the published dossier, and apologize for
   including it.” This is a clear admission that Plaintiffs are entitled to present to the jury as such.
                                                Conclusion
          For the reasons stated hereinabove, Defendants’ Motion in Limine No. 1 to Exclude
   Evidence or Argument as to Buzzfeed’s Post-Publication Decision to Redact Plaintiffs’ Names
   From the Dossier should be denied.




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   Dated: November 13, 2018

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